                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 QUADVEST, L.P. AND WOODLAND                 §
 OAKS UTILITY, L.P.                          §
                                             §
         Plaintiffs,                         §
                                             §               NO. 19-CV-4508
 VS.                                         §
                                             §
 SAN JACINTO RIVER AUTHORITY,                §
                                             §
         Defendant.                          §


                           PLAINTIFFS’ ORIGINAL COMPLAINT

       Plaintiffs, QUADVEST, L.P. and WOODLAND OAKS UTILITY, L.P. file this

antitrust Complaint against the Defendant, SAN JACINTO RIVER AUTHORITY, and

respectfully show the Court as follows:

                                    I.
                  INTRODUCTION AND SUMMARY OF COMPLAINT

       1.      This is a Complaint for injunctive relief to enjoin Defendant from injuring

Plaintiffs through the continued operation of a monopoly and a price fixing scheme that

violate the Sherman Act.

       2.      The Defendant is San Jacinto River Authority (“SJRA”), a political

subdivision created by the Texas Legislature to conserve, control, and utilize the storm

and flood waters of the San Jacinto River and its tributary streams. One of SJRA’s primary

missions is to control flood waters in the San Jacinto River Basin. But instead of focusing

on this important mission—as clearly evidenced by its abject failure during Hurricane



Plaintiffs’ Original Complaint                                                  Page 1 of 27
3083618.1
Harvey—SJRA has instead spent its time, energy, and limited funds over the past two

decades monopolizing the supply of wholesale raw water in Montgomery County, Texas,

resulting in artificially increased prices for all water consumers in the County and

significantly impairing interstate commerce.

         3.    Plaintiffs are investor owned utilities which have been injured by SJRA’s

violations of federal law, and therefore bring this suit under Section 16 of the Clayton Act

to enjoin SJRA from continuing to harm Plaintiffs through maintenance of its illegal

monopoly and price fixing of wholesale raw water supplies. In violation of Sections 1

and 2 of the Sherman Act, SJRA has conspired with others to unlawfully restrain trade,

to monopolize, and to attempt to monopolize the market of wholesale raw water supplies

in Montgomery County, Texas. As a result of SJRA’s unlawful acts, Plaintiffs have

suffered severe economic damages and will continue to suffer such damages unless and

until SJRA is enjoined from maintaining its monopoly and scheme to artificially inflate

and fix the price of wholesale raw water in Montgomery County, Texas.

                                          II.
                          PARTIES, JURISDICTION, AND VENUE

         4.    Plaintiff, Quadvest, L.P., is a limited partnership organized under the laws

of the State of Texas with its principal office in Montgomery County, Texas.

         5.    Plaintiff, Woodland Oaks Utility, L.P., is a limited partnership organized

under the laws of the State of Texas with its principal office in Montgomery County,

Texas.




Plaintiffs’ Original Complaint                                                   Page 2 of 27
3083618.1
        6.       Defendant, San Jacinto River Authority, is a political subdivision of the

State of Texas, created by the Texas Legislature in 1937 during the 45th Regular Session.

It may be served with process through its General Manager, Jace A. Houston, at 1577

Dam Site Road, Conroe, Texas 77304.

        7.       This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 26, which

authorizes this Court to enjoin violations of the nation’s antitrust laws.

        8.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1391(c)

because it is where the Defendant resides and because it is where all, or a substantial part,

of the events and omissions giving rise to the claims occurred.

                                                     III.
                                                   FACTS

A.      Introduction to the Players in this Story.

        9.       San Jacinto River Authority is a political subdivision created by the Texas

Legislature in 1937 to conserve, control, and utilize the storm and flood waters of the San

Jacinto River and its tributary streams. SJRA’s jurisdictional authority encompasses

Montgomery County and includes Lake Conroe, the primary source of raw surface water

in Montgomery County. Importantly, SJRA’s reach is limited by statute to surface water

only; SJRA has no authority to regulate groundwater.1 SJRA is both a wholesaler and




        1 See, e.g. Acts of 1937, 45th Leg., Chap. 426, §§ 1-3 (authorizing SJRA to control, store, preserve and

distribute “storm and flood waters” of the San Jacinto River and its tributaries). When the old Texas
Vernon’s Statutes were re-codified, SJRA’s enabling statutes were deleted from Vernon’s but not relocated
to a new Code; thus, the reason for citing to the original laws. SJRA has compiled, into a single document,
the current version of its enabling statute as amended from time to time. A copy of that compilation is
attached hereto as Exhibit 1 for the Court’s convenience. The underlying original laws from which the
summary was compiled by SJRA are also attached hereto as Exhibits 2-13.

Plaintiffs’ Original Complaint                                                                     Page 3 of 27
3083618.1
retailer of raw surface water. Wearing its wholesaler hat, SJRA sells raw water to various

utilities that re-sell the water retail to their end-user customers. SJRA also sells water as

a retailer to its own end-user customers.

       10.     Quadvest, L.P. (“Quadvest”) is a privately-owned utility commonly

referred to as an “investor owned utility” or “IOU.” Quadvest’s headquarters is in

Montgomery County and, among other things, it provides drinking water to retail

consumers throughout the County. Quadvest’s primary (but not only) business model

involves contracting with real estate developers who are building new suburban

neighborhoods. Quadvest builds the water and wastewater utility systems for these

developments and then becomes the utility provider for the homeowners once they move

into their new homes. For its raw water supply, Quadvest relies exclusively on wells that

pump groundwater from aquifers located under Montgomery County. Quadvest owns

its own wells and does not buy surface water from SJRA. Quadvest supplies drinking

water to approximately 15,000 customers of Montgomery County.

       11.     Woodland Oaks Utility, L.P. (“Woodland Oaks,” or together with

Quadvest, “Plaintiffs”) is also an IOU that relies exclusively on groundwater to supply

drinking water to about 1,200 residential and 25 commercial customers in Montgomery

County.

B.     Montgomery County Historically Relied on Groundwater.

       12.     Groundwater is plentiful in Montgomery County, which sits atop two

underground aquifer systems, the Gulf Coast system and the Catahoula formations.

According to a report prepared for the Texas Water Development Board in 2014, the total


Plaintiffs’ Original Complaint                                                    Page 4 of 27
3083618.1
estimated amount of groundwater underlying Montgomery County in the Gulf Coast

system is 180,000,000 acre-feet.2 An acre-foot of water is about 326,000 gallons, so

Montgomery County is sitting on 58,680,000,000,000 gallons of groundwater.

        13.     Not only was it plentiful, but groundwater in Montgomery County was

historically less expensive than surface water. There are many complex reasons for this,

but one big reason is proximity. Water wells can typically be drilled close to the areas

where the water is to be used, whereas surface water has to be transmitted from Lake

Conroe to the end users, some of whom are many miles from the lake.

        14.     Because groundwater was cheap and plentiful in Montgomery County, and

because Lake Conroe wasn’t built until the early 1970s, virtually all of the water used in

Montgomery County until recently was groundwater.3 Quadvest, for example, has been

providing drinking water to residents of Montgomery County, using only groundwater,

for years.

        15.     Even SJRA got into the groundwater business in ~1975, when it acquired

water wells and became the regional water supplier to The Woodlands, wholesaling raw

groundwater to the various Municipal Utility Districts that serve the area.4




        2 The Texas Water Development Board’s 2014 study regarding the Total Estimated Recoverable

Storage (“TERS Report”) did not include an analysis of the Catahoula formation, which is also in
Montgomery County. A copy of the TERS Report is attached hereto as Exhibit 14.
        3 Gulf States Utilities used surface water from its Lewis Creek Reservoir and a handful of users

relied on diversions from the San Jacinto River for irrigation purposes.
        4 As noted above, the Texas Legislature’s grant of authority to SJRA specifically encompasses

surface water and related issues, but not groundwater. As will be discussed in greater detail, however,
SJRA has never been particularly concerned with staying in its lane. Or complying with the law.

Plaintiffs’ Original Complaint                                                             Page 5 of 27
3083618.1
C.      SJRA Decides It Wants to Sell Surface Water to The Woodlands.

        16.     In the late 1980s, SJRA foresaw the coming population boom in The

Woodlands of Montgomery County, Texas. SJRA desperately wanted to sell drinking

water to all those new rooftops, but it had a problem. Although Lake Conroe had a

plentiful raw water supply, SJRA didn’t have the infrastructure in place to either treat the

raw water or to transmit it to The Woodlands. And the estimated cost to build the

necessary infrastructure was a whopping $500,000,000.

        17.     SJRA’s then-limited customer base was just too small to support the rate

structure that would be required to finance the necessary capital expenditures.5 SJRA

needed to somehow guarantee itself more wholesale customers of raw surface water.

D.      SJRA Settles on “Surface Water Conversion” as Its Solution.

        18.     In the mid to late 1980s, SJRA looked around and noticed that many water-

related entities in Southeast Texas were considering “surface water conversion” as a

strategy for long-term planning.6 In particular, the Harris-Galveston Coastal Subsidence

District (“HGCSD”) adopted a plan in 1985 that required certain groundwater users to

convert at least 80% of their production to surface water by the year 2005.                         This

requirement affected groundwater users in the North Harris County Water Supply

Corporation (“NHCWSC”) area, who planned to meet the requirement by obtaining

surface water from Lake Houston. NHCWSC therefore began a cooperative effort with



        5 See PowerPoint Slide deck entitled “San Jacinto River Authority Legislative Needs” at p. 5, copy

attached as Exhibit 15.
        6 See San Jacinto River Authority Water Resources Development Plan, May 1988, copy attached as

Exhibit 16.

Plaintiffs’ Original Complaint                                                               Page 6 of 27
3083618.1
the City of Houston to design and build a new water treatment plant and the associated

transmission lines.

        19.     Similarly, the West Harris County Water Supply Corporation was affected

by HGCSD’s 80% surface water conversion requirement and by 1988 was developing a

plan to take water from some combination of Lake Houston and the Brazos River.

        20.     Around this same time, the Northeast Harris County Water Supply

Corporation was formed for the purpose of preparing a surface water conversion plan to

comply with the HGCSD’s 80% conversion rule. It began looking seriously at an option

to participate in the NHCWSC-City of Houston plan to build a new treatment plant and

the associated transmission lines.

        21.     So SJRA concluded that the solution to its problem was to somehow require

all of those groundwater users in Montgomery County to start buying surface water from

SJRA instead. Of course, that solution had its own set of problems, not the least of which

was that SJRA had no authority to regulate groundwater.

E.      A Lone Star is Born.

        22.     What SJRA needed was a groundwater conservation district that it could

control. And that’s exactly what SJRA got.

        23.     SJRA successfully lobbied the legislature to create the Lone Star

Groundwater Conservation District (“Lone Star”) in 2001.7 Lone Star was charged with




        7 See Acts of 2001, 77th Leg., Chap. 1321, § 1.   (Like the SJRA, Lone Star’s enabling statute is no
longer codified; thus, the reason for the archaic citation form). The creation of Lone Star was subject to a
confirmation election, at which the voters approved its creation.

Plaintiffs’ Original Complaint                                                                 Page 7 of 27
3083618.1
regulating the groundwater in Montgomery County.8                     The initial enabling statute

permitted Montgomery County stakeholders to appoint members to Lone Star’s Board,

and remarkably, those Board members were specifically exempted from the Texas Water

Code’s ethical rules regarding conflicts of interest.9 This exemption allowed SJRA to pack

the Lone Star Board with members sympathetic to SJRA’s surface water conversion plan.

For example, Lone Star’s original Board included Jim Adams, who was the General

Manager of SJRA at the time. SJRA also managed to get Orval Love, Jim Stinson, and

Richard Tramm appointed to the Lone Star Board, all of whom were more than

sympathetic to SJRA’s goals.10

F.      SJRA and Lone Star Form the Surface Water Conversion Task Force.

        24.       SJRA and Lone Star almost immediately began conspiring with one another

to come up with a way for SJRA to monopolize all of the raw water supply in

Montgomery County.11 By 2004, SJRA and Lone Star were publicly admitting to having

initiated what they called “joint planning” sessions. And at Lone Star’s Board meeting

on December 13, 2005, Orval Love, then President of Lone Star, announced the formal

creation of the Surface Water Conversion Task Force and appointed himself to serve on

the task force along with Jim Adams and Rigby Owen.


        8 See Id. at § 5.

        9 See Id. at § 6(h).

        10 The Texas Legislature subsequently amended Lone Star’s enabling statute by requiring Board

Members to be elected instead of appointed. The Legislature also removed Lone Star’s exemption from the
Water Code’s ethical rules so that its Board Members are now bound by conflicts of interest prohibitions.
See Acts of 2015, 84th Leg., Chap. 646, § 1.
        11 While the conspiracy between SJRA and Lone Star no doubt violates the Sherman Act and is an

important background element in this long story, SJRA’s communications with Lone Star do not form the
basis of Plaintiffs’ claims.

Plaintiffs’ Original Complaint                                                              Page 8 of 27
3083618.1
       25.       When the joint Surface Water Conversion Task Force was announced in

December 2005, Lone Star admitted that it was “build[ing] off the facilities

implementation planning effort of the Lone Star GCD and the SJRA.”12 The reference to

“facilities implementation planning” was code for SJRA’s plan to build its massive

$500,000,000 infrastructure project that would provide surface water to The Woodlands.

       26.       The following month, Lone Star once again reported publicly that it was

working with SJRA to identify a “feasible and cost-efficient wholesale surface water

supply solution for Montgomery County,”13 which is an oblique reference to SJRA’s plan

to monopolize the supply of raw water in Montgomery County. Shockingly, Lone Star

also admitted that it was working hand-in-hand with SJRA to help it figure out how to

fund SJRA’s massive “facilities implementation plan.”

       27.       Toward this end, Lone Star hired its own outside counsel, David Crews, to

help finalize a scheme that would eventually require groundwater users in Montgomery

County to fund SJRA’s $500,000,000 infrastructure project.14

       28.       On April 11, 2006, certain members of the joint Surface Water Conversion

Task Force conducted a “Coordination Meeting” during which they discussed ways in

which Lone Star might be able to help SJRA accomplish its two-headed objective of (i)

creating a monopoly over wholesale raw water in Montgomery County, and (ii) fixing

the prices of wholesale raw water in Montgomery County. Attendees included Mike




       12 See Lone Star’s Meeting Minutes of 12/13/05 at p. 6, attached hereto as Exhibit 17.

       13 See Lone Star’s Meeting Minutes of 1/10/06 at p. 3, attached hereto as Exhibit 18.

       14 See Id. at p. 4.



Plaintiffs’ Original Complaint                                                                  Page 9 of 27
3083618.1
Page, who was then SJRA’s outside counsel, and Brian Sledge, who was acting as Lone

Star’s outside counsel at the time. Alan Potok, an engineer at Turner Collie & Braden

(“TCB”), also attended the meeting. The meeting concluded with an agreement that

lawyers Page and Sledge would work together to document the parties’ express

agreement to violate the Sherman Act in a written “Memorandum of Understanding.”15

Additional coordination meetings were held on June 13, 2006,16 August 1, 2006,17

August 8, 2006,18 September 12, 200619 and October 10, 2006,20 among other dates.

       29.      In furtherance of their conspiracy to violate the Sherman Act, Lone Star and

SJRA jointly published in June 2006 an engineering study entitled, Regulatory Study and

Facilities Implementation Plan for Lone Star Groundwater Conservation District and San

Jacinto River Authority.21 This report was authored by TCB’s engineer, Alan Potok, the

same Alan Potok who’d been participating in the Surface Water Conversion Task Force

meetings. In the TCB Report, Potok specifically addressed how Lone Star and SJRA could

work cooperatively to set up a system by which groundwater users like Plaintiffs could

be forced to help fund SJRA’s $500,000,000 facilities implementation plan.22 To give the

TCB Report an air of legitimacy, Lone Star and SJRA solicited funding from the Texas


       15 See Coordination Meeting Minutes of 4/11/06, attached hereto as Exhibit 19.

       16 See Lone Star’s Meeting Minutes of 6/13/06 at p. 5, attached hereto as Exhibit 20.

       17 See Lone Star Agenda for 8/1/06, attached hereto as Exhibit 21.

       18 See Lone Star Meeting Minutes of 8/8/06 at p. 5, attached hereto as Exhibit 22.

       19 See Lone Star Meeting Minutes of 9/12/06 at p. 5, attached hereto as Exhibit 23.

       20 See Lone Star Meeting Minutes of 10/10/06 at p. 4, attached hereto as Exhibit 24.

       21  See Regulatory Study and Facilities Implementation Plan for Lone Star Groundwater
Conservation District and San Jacinto River Authority, June 2006 (hereinafter the “TCB Report”), copy
attached hereto as Exhibit 25.
       22 Id. at pp. 61 et seq.



Plaintiffs’ Original Complaint                                                                 Page 10 of 27
3083618.1
Water Development Board (“TWDB”) to help pay for the study and then slapped the

TWDB logo on the cover page to imply its conclusions were made by the TWDB itself.23

        30.      After Engineer Potok finished the self-serving TCB Report, lawyers Sledge

and Page relied on it to draft their Memorandum of Understanding (“MOU”), including

statements in the recitals such as “the TWDB Study determined that surface water

supplies will be necessary to augment the groundwater resources in the County . . . .”24

In reality, the TCB Report was created only to support Lone Star’s pre-determined

conclusion that groundwater usage should be curtailed, which in turn was justification

for SJRA’s plan to seize control of wholesale raw water supplies in Montgomery County

as a means to fund its facilities implementation plan. Indeed, the entire 98 page report

(excluding Appendices) was premised on a single, untested assumption that the total

amount of usable groundwater available from the Gulf Coast aquifer system was only

64,000 acre-feet per year: “In its 2004 Groundwater Management Plan, [Lone Star]

estimates the amount of usable groundwater available from the Gulf Coast aquifer

system to be 64,000 acre-feet per year . . . .”25 Based solely on this “estimate,”26 the TCB




        23 Id. at cover page.

        24 See Memorandum of Understanding by and between Lone Star Groundwater Conservation

District and San Jacinto River Authority Regarding Conjunctive Management and Wholesale Water Supply
in Montgomery County, Texas, Nov. 14, 2006, at p. 1, copy attached here as Exhibit 26.
        25 See TCB Report (Exhibit 25) at p. 12.

         26 In reality, the 64,000 acre-feet number was pulled from thin air (see, e.g., 8/11/2014 Memorandum

of Call at Exhibit 27) and pales in comparison to the amount of groundwater actually available in
Montgomery County. Per the Texas Water Development Board’s 2014 study regarding the Total Estimated
Recoverable Storage (“TERS Report”) for groundwater in and around Montgomery County (Exhibit 14),
there is 180,000,000 acre-feet available in the Gulf Coast aquifer. Assuming zero recharge, it would take
almost three millennia to deplete the Gulf Coast aquifer. And these numbers don’t even include the
Catahoula formation, which is another source of groundwater in Montgomery County.

Plaintiffs’ Original Complaint                                                                 Page 11 of 27
3083618.1
Report projected that future demand would exceed 64,000 acre-feet per year, and reached

SJRA’s conclusion that groundwater users must convert to surface water, which of course

would require massive new infrastructure.

       31.       In what can only be described as shockingly brazen, the MOU actually

reduced to writing the agreement between Lone Star and SJRA to create a monopoly over

wholesale raw water supplies in Montgomery County as a means to help SJRA raise cash

to fund its facilities implementation plan. Among other things, the MOU expressly says

that Lone Star and SJRA will “pursue a cooperative implementation strategy . . . to finance

and provide wholesale surface water to converting [groundwater] users . . . .”27 In other

words, it’s an agreement to create an SJRA controlled monopoly in violation of the

Sherman Act.

       32.       The MOU also set forth the scheme to charge fees to groundwater users,

regardless of whether they buy surface water from SJRA, so as to spread the cost of SJRA’s

capital improvements to a wider audience.28 Further, the fees assessed to groundwater

users are expressly to be used to “equalize the cost of groundwater and surface water” in

Montgomery County.29 Which, of course, is an illegal agreement to fix prices in violation

of the Sherman Act.




       27 See MOU (Exhibit 26) at ¶ 4.

       28 Id. at ¶ 4.

       29 Id. at ¶ 6.



Plaintiffs’ Original Complaint                                                 Page 12 of 27
3083618.1
G.      Lone Star’s “Rule.”

        33.      As part of their coordination efforts, SJRA and Lone Star agreed that Lone

Star would adopt a groundwater conservation plan that would impose severe limits on

groundwater as a means to force large volume groundwater users (“LVGUs”)30 in

Montgomery County to begin using surface water (acquired from SJRA, of course).31

        34.      And so Lone Star began work to implement its “District Regulatory Plan”

or “DRP” in three phases it labeled Phase I, Phase II(A) and Phase II(B). The DRP is

complicated, but for this discussion, the critical piece is that it implemented a rule (the

“Rule”) requiring all LVGUs in Montgomery County to reduce their groundwater

consumption by 30% as compared to the volume they had pumped in 2009.32 And to give

the Rule some teeth, violators would be fined $10,000 per day per violation.33

H.      SJRA’s “GRP.”

        35.      While Lone Star was working to implement the Rule, SJRA was working on

developing a groundwater reduction plan, or GRP.34 The proposed GRP was to be fairly

complex, but a key component of the GRP was to allow participating LVGUs to pool



        30 In this context, a “large volume groundwater user” is any groundwater user who produces more

than 10 million gallons per year, a number only slightly above the amount that can be produced for
domestic or livestock use, which is by statute exempt from any regulation.
        31 See MOU (Exhibit 26) at ¶ 6.

        32 Phase II(A) was adopted February 12, 2008 and is attached hereto as Exhibit 28.
                                                                                         Phase II(A) was
amended and restated as of March 10, 2009 and is attached hereto as Exhibit 29. Phase II(B) was adopted
November 10, 2009 and is attached hereto as Exhibit 30. Phase II(B) was amended and restated on April
22, 2010 (Exhibit 31), again on November 12, 2013 (Exhibit 32), again on July 14, 2015 (Exhibit 33), and
once again on December 8, 2015 (Exhibit 34).
        33 As it turns out, Lone Star’s Rule was illegal, and the District Court sitting in Montgomery County

eventually set it aside. See infra ¶¶ 52-54.
        34 SJRA worked on its GRP for several years, and eventually finalized it in March 2011.   A copy of
the final GRP is attached hereto as Exhibit 35.

Plaintiffs’ Original Complaint                                                                 Page 13 of 27
3083618.1
together so that their groundwater consumption would be measured collectively, instead

of individually, to determine whether they were in compliance with Lone Star’s new

groundwater limits. The idea was that some LVGUs could “over convert” to surface

water, leaving room for other LVGUs to continue using more groundwater than was

otherwise permitted. Either way, SJRA would benefit. For those LVGUs who converted

to surface water, SJRA gained new wholesale customers. And the LVGUs who elected to

continue using their own well water were required to pay pumpage fees to SJRA for the

privilege.

        36.     SJRA initially intended to implement and enforce its planned GRP through

its own rule-making authority. But it had a slight problem: the legislature hadn’t given

SJRA any authorization to regulate groundwater; nor did SJRA have any statutory grant

that would permit it to monopolize wholesale surface water,35 or to require groundwater

users to pay fees to SJRA for the privilege of pumping their own well water, or to fix

prices of all wholesale raw water supplies in Montgomery County.

I.      SJRA Tried—But Failed—to Get Statutory Authority for Its GRP.

        37.     Recognizing that it lacked statutory authority to accomplish its goals, SJRA

lobbied the Texas Legislature to amend its enabling statute.36 During the 2009 legislative

session, Representative Eissler introduced House Bill 4804, which would have amended

SJRA’s enabling statute to authorize SJRA to, among other things:



        35 Section 13.001 of the Texas Water Code purports to grant monopoly rights to retail public utilities.

See Tex. Water Code § 13.001(b)(1). But this grant does not extend to wholesale raw water.
        36 See PowerPoint Slide deck entitled “San Jacinto River Authority Legislative Needs” at passim,

copy attached as Exhibit 15

Plaintiffs’ Original Complaint                                                                  Page 14 of 27
3083618.1
                 a.         regulate groundwater in Montgomery County;37

                 b.         adopt and enforce a groundwater reduction plan;38

                 c.         require Montgomery County groundwater users to buy water from

       SJRA instead of using their own groundwater;39

                 d.         prevent groundwater users from importing alternative sources of

       water from outside Montgomery County;40 and

                 e.         charge fees to groundwater users for pumping water from their own

       wells.41

       38.       HB 4804 would also have authorized SJRA to design, finance, and construct

its $500,000,000 expansion project.42 Similarly, Senator Williams introduced Senate Bill

2489 that was virtually identical to HB 4804.43 Like its House Bill counterpart, SB 2489

would have expanded SJRA’s authority to permit it to regulate groundwater, adopt and

enforce a groundwater reduction plan, require groundwater users to buy surface water

from SJRA, and charge fees to pump their own well water.44

       39.       But the Texas Legislature refused to expand SJRA’s reach into

groundwater. Neither HB 4804 nor SB 2489 was adopted. SJRA’s enabling statute was

not amended, and to this day, SJRA has no statutory authority to regulate groundwater,


       37 See HB 4804 at p. 4, ll. 2-6, attached hereto as Exhibit 36.

       38 Id. at p. 4, ll. 2-9.

       39 Id. at p. 4, ll. 19-21.

       40 Id. at p. 5, ll. 1-3.

       41 Id. at p. 14, ll. 5-7.

       42 Id. at passim.

       43 See SB 2489, attached hereto as Exhibit 37.

       44 Id. at passim.



Plaintiffs’ Original Complaint                                                    Page 15 of 27
3083618.1
to adopt or enforce a groundwater reduction plan, to require groundwater users to buy

surface water from SJRA, to limit groundwater users from importing water from outside

Montgomery County, or to assess fees against groundwater users for pumping their own

well water.

        40.     In short, SJRA has no legislative grant to monopolize wholesale raw water

in Montgomery County or to fix the price of wholesale raw water in Montgomery

County.

J.      The GRP Contracts.

        41.     Although the Texas Legislature rebuffed SJRA’s attempts to move into

groundwater regulation and to monopolize wholesale raw water in Montgomery

County, SJRA forged ahead with its plan. Rather than relying on the rule making

authority that the Texas Legislature had refused to grant, SJRA instead sought to give

itself the power to monopolize and fix the price of Montgomery County’s wholesale raw

water supplies through a series of GRP Contracts.45 As explained in greater detail below,

these GRP Contracts would purport to give SJRA the contractual authority to do the very

things that the Texas Legislature refused to authorize.

        42.     To “encourage” the Montgomery County LVGUs to participate in SJRA’s

GRP, SJRA worked with Lone Star to finalize the Rule. And on November 10, 2009, Lone

Star did just that, adopting Phase II(B) of its District Regulatory Plan.46



        45 SJRA prepared a PowerPoint slide deck to explain the GRP Contracts in which it admitted its

legislative defeat necessitated its reliance on the GRP Contracts. See “Questions and Answers” slide deck
at p. 9, attached as Exhibit 15.
        46 See Exhibit 30.



Plaintiffs’ Original Complaint                                                             Page 16 of 27
3083618.1
        43.       SJRA then presented its GRP to the Montgomery County LVGUs,

explaining that participation in SJRA’s planned GRP would provide a safe harbor against

Lone Star’s threatened $10,000 daily fine. But the price of admission to SJRA’s GRP was

steep. It required the LVGUs to sign on to SJRA’s GRP Contracts, which each Plaintiff

did47 because they had no other option but to join.

        44.       Those GRP Contracts required each signatory/participant to pay SJRA fees

for pumping groundwater—groundwater that the participants owned, using wells the

participants paid to drill and maintain. In other words, Plaintiffs were required to pay

SJRA fees for using their own groundwater.48

        45.       The GRP Contracts specifically contemplated that SJRA would use the

pumpage fees to finance SJRA’s massive public works project.49 And once the facilities’

expansion was complete, the GRP Contracts gave SJRA the option to require Plaintiffs to

connect to SJRA’s facilities for the purpose of purchasing raw water from SJRA.50 And

once connected to SJRA’s system, SJRA had the contractual right to dictate how much

water each participant must take (or pay for even if they don’t receive it).51




        47 Each Plaintiff signed its own version of the GRP Contract, but the terms of each contract are

essentially identical. Quadvest’s contract is dated as of June 1, 2010 and was amended in 2012 when
Quadvest acquired wells from another GRP participant, HHJ, Inc. d/b/a Decker Utilities. Quadvest’s
original GRP contract is attached hereto as Exhibit 38 and the 2012 amendment is attached hereto as Exhibit
39. Ranch Utilities, L.P., a former affiliate of Quadvest, signed a GRP Contract also dated as of June 1, 2010,
a copy of which is attached hereto as Exhibit 40. Ranch Utilities was subsequently merged into Quadvest,
which assumed the Ranch Utilities GRP Contract. Woodland Oaks’ contract is dated as of June 1, 2010 and
is attached hereto as Exhibit 41.
        48 See, e.g., Quadvest’s GRP Contract (Exhibit 38) at § 6.02.

        49 Id. at Article IV.

        50 Id. at § 4.05.

        51 Id at § 4.09.



Plaintiffs’ Original Complaint                                                                  Page 17 of 27
3083618.1
        46.       Another “feature” of the GRP Contracts was that the pumpage fees were

calculated and assessed so as to equalize the cost of otherwise less expensive

groundwater with the cost of surface water.52 The intent—and actual effect—of this

clause was to make sure that all raw water purchased in Montgomery County was sold

at the same rate.53

        47.       Through these GRP Contracts, SJRA took for itself the very power the Texas

Legislature had refused to grant.

K.      SJRA Closes Loopholes.

        48.       SJRA recognized that its plan to monopolize the raw water in Montgomery

County had a couple of significant loopholes. SJRA owns the rights to only one-third of

the surface water in Lake Conroe; the rest is owned by the City of Houston.

        49.       To prevent LVGUs from converting to surface water owned by the City of

Houston (which would have defeated SJRA’s goal of using LVGU fees to finance its

$500,000,000 expansion project), SJRA negotiated a deal with the City of Houston by

which SJRA acquired rights of first refusal to the City’s water rights in Lake Conroe.54

Even if Plaintiffs want to do so, they cannot buy water from City of Houston unless SJRA

allows them to.55 Worse, the contract between SJRA and the City of Houston prohibits

the City from selling any lake water to any person or entity subject to the groundwater




        52 Id. at § 6.02.

        53 Id. at §§ 6.02, 6.04.

        54 See Water Supply Contract Between City of Houston and San Jacinto River Authority at ¶¶ 2.1,

2.2, attached as Exhibit 42.
        55 Id. at ¶ 2.2(c).



Plaintiffs’ Original Complaint                                                           Page 18 of 27
3083618.1
reduction requirements of Lone Star’s Rule.56 This effectively clinches SJRA’s control

over all of the wholesale surface water in Lake Conroe.

        50.      To complete its hold on the water supplies available in Montgomery

County, SJRA also entered into an option contract with the only other viable surface

water provider, Trinity River Authority (“TRA”), under which SJRA essentially takes any

excess TRA water off the market by purchasing a right of first refusal.57

        51.      In short, SJRA has an absolute stranglehold on all of the wholesale raw

water in Montgomery County, whether the source of the water is surface water or

groundwater.

L.      Rule is Set Aside as Invalid.

        52.      SJRA was not the only actor in this play to exceed its statutory authority. In

2015, Plaintiffs and others filed suit against Lone Star to challenge the validity of the Rule

on the grounds that Lone Star had no statutory authority to require all LVGUs in

Montgomery County to reduce their consumption by 30% as measured against their 2009

usage. The 284th Judicial District Court of Montgomery County agreed with Plaintiffs

and entered a Final Judgment on May 17, 2019, declaring the Rule invalid ab initio.58

        53.      Unfortunately for Plaintiffs, however, they were locked into the GRP

Contracts by the time the Rule was set aside. So, although the purported justification for




        56 Id.

        57 See Option for Raw Water Supply Contract Between the Trinity River Authority and San Jacinto

River Authority at Arts. 1 & 2, attached as Exhibit 43.
        58 A true and correct copy of the Final Judgment from the Rule invalidation suit is attached hereto

as Exhibit 44.

Plaintiffs’ Original Complaint                                                               Page 19 of 27
3083618.1
the GRP no longer exists, SJRA has no plans to cancel the GRP Contracts because they are

essential to SJRA’s monopolization of the wholesale raw water supplies of Montgomery

County.

       54.       Plaintiffs are therefore stuck with these GRP Contracts that SJRA claims are

enforceable, even though the Lone Star Rule has been invalidated and even though they

violate the Sherman Act.

                                              IV.
                                       CAUSES OF ACTION

A.     Claim One: Violation of Section 1 of Sherman Act.

       55.       The factual statements set forth above in Section III are incorporated herein

by this reference.

       56.       The GRP Contracts between Plaintiffs and SJRA constitute a violation of

Section 1 of the Sherman Act, which declares that “[e]very contract . . . in restraint of trade

or commerce among the several States” is illegal. 15 U.S.C. § 1. Among other things, the

GRP Contracts fix the price of raw water in Montgomery County by assessing pumpage

fees to LVGU participants so as to equalize the price of groundwater with surface water,59

require Plaintiffs to pay fees to SJRA for the privilege of pumping their own

groundwater,60 give SJRA the option to require Plaintiffs to buy wholesale surface water




       59 See, e.g., Quadvest’s GRP Contract (Exhibit 38) at Article VI.

       60 Id. at § 6.02.



Plaintiffs’ Original Complaint                                                    Page 20 of 27
3083618.1
from SJRA in amounts dictated by SJRA,61 and impair Plaintiffs’ ability to procure

wholesale raw water from other sources at competitive rates.62

       57.      Each Plaintiff has suffered severe economic injury as a result of SJRA’s

violations of the Sherman Act. Quadvest has already paid SJRA more than $18 million

for the privilege of pumping its own groundwater, and Woodland Oaks has similarly

paid SJRA more than $3 million.

       58.      These monthly pumpage fees substantially affect interstate commerce in a

multitude of ways, including inter alia the following:

                a.        Each Plaintiff funds its operations—including the sizable monthly

       pumpage fees paid to SJRA—with loans and/or lines of credit from a Denver,

       Colorado based cooperative that specializes in financing IOUs. The excessive

       pumpage fees required under the GRP Contracts impact Plaintiffs’ cash flows and

       balance sheets, thereby affecting their credit ratings/worthiness and credit terms.

                b.        Each Plaintiffs’ operations require equipment, such as pumps,

       motors, tanks, and electrical equipment that are sourced from vendors located

       outside Texas. The excessive pumpage fees negatively affect Plaintiffs’ cash flows

       and abilities to acquire required equipment from out-of-state suppliers.

                c.        Each Plaintiff employs dozens of persons, some of whom are out-of-

       state transfers. The excessive pumpage fees negatively impair Plaintiffs’ abilities




       61 Id. at Article IV.

       62 Id. at § 6.04(i) (SJRA can assess fees against LVGUs who buy water from alternate sources).




Plaintiffs’ Original Complaint                                                              Page 21 of 27
3083618.1
        to expand their businesses and reduce their need to hire additional out-of-state

        employees.

        59.       Moreover, Plaintiffs’ rates for treated water sold retail to end-users are

higher than they would otherwise be because of the GRP Contracts. The nature of the

population growth in Montgomery County means that many of the homes to which

Plaintiffs sell water retail are in neighborhoods that attract potential new residents from

out-of-state, and those interstate home-buyers are thereby affected by the GRP Contracts,

either because they must pay higher retail water rates after moving to Texas, or by

discouraging them from relocating to Montgomery County in the first place.

        60.       Further, SJRA’s violations of the Sherman Act squeeze interstate commerce

because its GRP directly impacts wholesale raw surface water drawn from Lake Conroe,

which is a water of the United States. Lake Conroe is a habitat for fish that may be sold

into interstate commerce, and is part of the San Jacinto River, which feeds into Galveston

Bay.

        61.       So long as SJRA enforces the GRP Contracts—whose terms are practically

indefinite63—Plaintiffs will continue to suffer economic injury that substantially affects

interstate commerce. Plaintiffs therefore seek an injunction64 under 15 U.S.C. § 26 to

prevent SJRA from enforcing the GRP Contracts or taking any other acts to enforce the

GRP.


        63 Id. at § 12.01 (term extends for as long as SJRA has outstanding Bonds related to the Project);

§ 4.01 (SJRA has exclusive right to control the Project).
        64 Plaintiffs do not seek an award of money damages, which is expressly disallowed by statute.       See
15 U.S.C. § 35.

Plaintiffs’ Original Complaint                                                                 Page 22 of 27
3083618.1
B.     Claim Two: Violation of Section 2 of Sherman Act.

       62.       The factual statements set forth above in Section III are incorporated herein

by this reference.

       63.       SJRA attempted to, and in fact did, monopolize the raw water supply of

Montgomery County in violation of Section 2 of the Sherman Act. 15 U.S.C. § 2. Among

other things, the GRP Contracts require Plaintiffs to pay fees to SJRA for the privilege of

pumping their own groundwater,65 give SJRA the option to require Plaintiffs to buy

wholesale surface water from SJRA in amounts dictated by SJRA,66 and impair Plaintiffs’

ability to procure wholesale raw water from other sources at competitive rates.67 Further,

SJRA tied up alternative sources of raw surface water by contracting with City of

Houston68 and Trinity River Authority.69

       64.       Each Plaintiff has suffered severe economic injury as a result of SJRA’s

violations of the Sherman Act. Quadvest has already paid SJRA more than $18 million

for the privilege of participating in SJRA’s monopoly of wholesale water supplies in

Montgomery County, and Woodland Oaks has similarly paid SJRA more than $3 million.

       65.       The amount of fees paid by Plaintiffs substantially affect interstate

commerce in a multitude of ways, including inter alia the following:




       65 Id. at § 6.02.

       66 Id. at Article IV.

       67 Id. at § 6.04(i) (SJRA can assess fees against LVGUs who buy water from alternate sources).

       68 See supra ¶ 49.

       69 See supra ¶ 50.



Plaintiffs’ Original Complaint                                                              Page 23 of 27
3083618.1
               a.      Each Plaintiff funds its operations—including the sizable monthly

       pumpage fees paid to SJRA—with loans and/or lines of credit from a Denver,

       Colorado based cooperative that specializes in financing IOUs. The excessive

       pumpage fees required under the GRP Contracts impact Plaintiffs’ cash flows and

       balance sheets, thereby affecting their credit rating/worthiness and credit terms.

               b.      Each Plaintiffs’ operations require equipment, such as pumps,

       motors, tanks, and electrical equipment, that are sourced from vendors located

       outside Texas. The excessive pumpage fees negatively affect Plaintiffs’ cash flows

       and ability to acquire required equipment from out-of-state suppliers.

               c.      Each Plaintiff employs dozens of persons, some of whom are out-of-

       state transfers. The excessive pumpage fees negatively impair Plaintiffs’ abilities

       to expand their businesses, and reduce their need to hire additional out-of-state

       employees.

       66.     Moreover, Plaintiffs’ rates for treated water sold retail to end-users are

higher than they would otherwise be because of SJRA’s monopoly. The nature of the

population growth in Montgomery County means that many of the homes to whom

Plaintiffs sell water retail are in neighborhoods that attract potential new residents from

out-of-state, and those interstate home-buyers are thereby affected by SJRA’s monopoly,

either because they must pay higher retail water rates after moving to Texas, or by

discouraging them from relocating to Montgomery County in the first place.

       67.     Further, SJRA’s violations of the Sherman Act squeeze interstate commerce

because its GRP directly impacts wholesale raw surface water drawn from Lake Conroe,

Plaintiffs’ Original Complaint                                                  Page 24 of 27
3083618.1
which is a water of the United States. Lake Conroe is a habitat for fish that may be sold

into interstate commerce, and is part of the San Jacinto River, which feeds into Galveston

Bay.

        68.       So long as SJRA enforces the GRP Contracts—whose terms are practically

indefinite70—Plaintiffs will continue to suffer economic injury that substantially affects

interstate commerce. Plaintiffs therefore seek an injunction71 under 15 U.S.C. § 26 to

prevent SJRA from enforcing the GRP Contracts72 or taking any other acts to enforce the

GRP, to monopolize or attempt to monopolize wholesale raw water in Montgomery

County, or to fix prices of wholesale raw water supplies in Montgomery County.

                                                V.
                                       SJRA IS NOT IMMUNE

        69.       SJRA does not enjoy Parker state action immunity because the State of Texas

has neither authorized SJRA to restrain trade in violation of the Sherman Act, nor does

the State actively supervise SJRA’s enforcement of the GRP and/or the GRP Contracts.

Nothing in SJRA’s enabling statute grants it authority to regulate groundwater, or to

enforce its GRP, or to require groundwater users to pay it a fee for the privilege of




        70 Id. at § 12.01 (term extends for as long as SJRA has outstanding Bonds related to the Project);

§ 4.01 (SJRA has exclusive right to control the Project).
        71 Plaintiffs do not seek an award of money damages, which is expressly disallowed by statute.       See
15 U.S.C. § 35.
        72 That is, the Quadvest GRP Contract as amended in 2012 (Exhibits 38 and 39), the Ranch Utilities

GRP Contract assumed by Quadvest when Ranch Utilities was merged into Quadvest (Exhibit 40), and the
Woodland Oaks GRP Contract (Exhibit 41).

Plaintiffs’ Original Complaint                                                                 Page 25 of 27
3083618.1
pumping their own well-water.73 Indeed, SJRA’s enabling statute actually requires it to

follow the laws of the United States, including the Sherman Act.74

       70.       SJRA knows this and sought authority from the Texas Legislature in 2009,

which request was rejected.75 SJRA is not acting pursuant to a clearly articulated and

affirmatively expressed state policy to displace competition with state regulation in the

raw water wholesale marketplace.

       71.       Similarly, the State of Texas is not actively supervising SJRA’s enforcement

of its GRP or the GRP Contracts. There were no mechanisms created to supervise SJRA’s

actions because the State of Texas never even contemplated that SJRA would engage in

monopolistic and/or price fixing behaviors in the raw water wholesale marketplace.

                                           VI.
                                 STATUTE OF LIMITATIONS

       72.       Plaintiffs’ claims are not barred by the statute of limitations because SJRA’s

conduct constitutes an ongoing and continuing violation of the Sherman Act. Moreover,

Plaintiffs do not seek to recover damages for past violations, but instead seek only to

enjoin SJRA’s future violations of the Sherman Act.

                                          VII.
                                 CONCLUSION AND PRAYER

       The San Jacinto River Authority has been granted broad power by the State of

Texas to conserve, control, and utilize the storm and flood waters of the San Jacinto River



        73 See SJRA’s Enabling Statute (Exhibit 1) at §§ 1-3 (authorizing SJRA to manage and conserve

surface water only).
       74 Id. at § 7(a).

       75 See supra ¶¶ 37-40.



Plaintiffs’ Original Complaint                                                          Page 26 of 27
3083618.1
and its tributary streams. The State of Texas, however, has never imbued SJRA with any


power to regulate groundwater/ or to monopolize wholesale raw water in Montgomery


County/ or to artificially inflate the price of wholesale raw water in Montgomery County


through a price fixing scheme. In fact, the State of Texas has specifically restricted SJRA's


authority to the limits placed on it by the laws of the United States. SJRA's conduct is a

direct and flagrant violation of the Sherman Act that significantly impairs interstate

commerce and all those who consume water in Montgomery County. This Court should


not hesitate to enjoin SJRA from any further violations of the Sherman Act.


                                                  Respectfully submitted/

                                                  DuBOIS/ BRYANT & CAMPBELL, LLP
                                                  303 Colorado Street, Suite 2300
                                                  Austin/ TX 78701
                                                  (512) 457-8000
                                                  (512) 457-8008 (Facsimile)


                                                  ByO- ^ ^ r — 'A^t^L.
                                                         J. David Rowe
                                                         State Bar No. 00794564
                                                         Federal ID No. 21394
                                                         drowe@dbcllp.com.
                                                         Seth E. Meisel
                                                         State Bar No. 24037089
                                                         Federal ID No. 435586
                                                         smeisel@dbcllp.com
                                                         Peter Gregg
                                                         State Bar No. 00784174
                                                         Federal ID No. 22745
                                                         pgregg@dbcllp.com


                                                  ATTORNEYS FOR PLAINTIFFS




Plaintiffs Original Complaint Page 27 of 27
3083618.1
